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4
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5

6                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
7
     THE UNITED STATES OF AMERICA,                    ) No. 17-162 TLN
8
                     Plaintiff,                       )
9
                                                      ) STIPULATION AND
             v.                                       ) ORDER ADDING DRUG TREATMENT
10                                                    ) TO SPECIAL CONDITIONS OF RELEASE
                                                      )
11   SAMUEL SCOTT,                                    ) Date:
12
                                                      ) Time:
                        Defendant.                    ) Judge: Hon. Magistrate Deborah Barnes
13   ================================)
          Samuel Scott’s special conditions of pre-trial release are found in ECF document 12. The
14

15
     parties stipulate to add special condition #14 of pre-trial release:

16   “You must participate in a program of medical or psychiatric treatment, including treatment for

17   drug or alcohol dependency, as approved by the pretrial services officer. You must pay all or
18
     part of the costs of the counseling services based upon your ability to pay, as determined by the
19
     pretrial services officer.”
20

21
     Dated: October 23, 2017                                  Respectfully submitted,
22
                                                              /s/ Michael D. Long
23
                                                              MICHAEL D. LONG
24
                                                              Attorney for Samuel Scott

25   Dated: October 23, 2017                                  PHILLIP A. TALBERT
                                                              Acting United States Attorney
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27
                                                              /s/ James Conolly
                                                              JAMES CONOLLY
28                                                            Assistant U.S. Attorney


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1    Dated: October 30, 2017
2            GOOD CAUSE APPEARING AND HAVING BEEN SHOWN, IT IS SO ORDERED.
3
             The Court hereby orders new special condition of release #14:
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     “You must participate in a program of medical or psychiatric treatment, including treatment for
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6    drug or alcohol dependency, as approved by the pretrial services officer. You must pay all or part

7    of the costs of the counseling services based upon your ability to pay, as determined by the
8
     pretrial services officer.”
9
     Dated: October 30, 2017
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